ease 2: 02- --cr 2041F70-I§ILFIHE MHQ&YG?E$IM§BB}§§?&OUSE@ 1 of 2 PagelD 143
0R THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION F¢"-E 3 ./]/M i}.Cd

05 JUH 23 AH iU= 31

UNITED STATES OF AMERICA *
* il L:' j T \'-.¢._.
vs. * CR. No ozcrzi}z§l W~W 3‘§§‘;1§=§
*
NICOLE WRIGHT *

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On June 22, 2005, Nicole Wright appeared before me on a charge of Violation of the terms
and conditions of her supervised release in this matter. The defendant had previously been advised
of her rights under Fed.R.Crim.P. 5 and 32.1(a), and counsel was appointed.

At this hearing, the defendant was released on bond and, therefore, a preliminary hearing on

the violation was not required. § United States v. Sciuto, 531 F.2d 842, 846 (7th Cir. 1976) and

 

United States V. Tucker, 524 F.2d 77, 78 (Sth Cir. 1975), Lrt. denied, 424 U.S. 966, 96 S.Ct. 1462,

 

 

47 L.Ed.Zd 733 (1976).
Accordingly, defendant, Nicole Wright is held to a final revocation hearing before United
States District Judge Samuel H. Mays, Jr.. It is presumed that the District Judge will set this matter

for a revocation hearing pursuant to Fed.R.Crim.P. 32.1(b), (c), and will see that appropriate notices

 

are given.
/._
iT ls so 0RDERED ihis&'§ day omqu 5.
C¢',<\_"
TU M. PHAM
UNITED STATES MAGISTRATE JUDGE
Thls document entered on tha docket sheet l n 00

with Ftule 55 and/or 32(b) FRCrP on

iD

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 107 in
case 2:02-CR-204]7 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

L. Daniel Johnson

JOHNSON COCKE & BRANDON
254 Court Ave.

Ste. 300

Memphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

